       Case 3:19-cr-03476-BTM Document 1 Filed 09/04/19 PageID.1 Page 1 of 1



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 6                                        January 2019 Grand Jury
 7   UNITED STATES OF AMERICA,                           Case No.     19CR347
                                                                           - 6- BJ.M
 8                          Plaintiff,                   IN D•I CT MEN T                             '
 9            v.                                         Title~l8, U.S.C., Sec. 2244(b)' ~
                                                         Abusi;,ye Sexual Contact; Title 49,
10   JAAFAR KHALA ALJUBORE,                              U.S.C., Sec. 46506(1) -
                                                         Application of Certain Criminal
11                          Defendant.                   Laws to Acts on Aircraft

12         The grand jury charges:

13         On or about September 11,                 2017,   while aboard American Airlines

14   flight #584, an aircraft in flight in the special aircraft jurisdiction

15   of the United States, on a nonstop flight from San Diego, California,

16   in the Southern District of California, defendant JAAFAR KHALA ALJUBORE,

17   did with intent to abuse,                 harass,   humiliate,    and degrade L. H.         and to

18   arouse        and   gratify   the    sexual    desire    of    any    person,    knowingly          and

19   intentionally engage i_n sexual contact with L. H. without her permission,

20   to wit, by intentionally touching without permission L.H.'s inner thigh;

21   in violation of Title               18,    United States      Code,    Section     2244 (b),        and

22   Title 49, United States Code, Section 46506(1).

23         Dated:        September 4, 2019.

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25   ROBERTS. BREWER, JR.
     United States Attorney
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     By:
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     JIS:nlv(cms) :San Diego:9/4/19
